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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA

MATTHEW D. GUERTIN                                        Case No: 24-cv-02646-JRT-DLM
                                         Plaintiff,
          v.
HENNEPIN COUNTY, a municipal entity;
KEITH ELLISON, in his official
capacity as Minnesota Attorney General;
MARY MORIARTY, in her official
capacity as Hennepin County Attorney;
CHELA GUZMAN-WEIGART, in her
official capacity as Assistant County
Administrator for Law, Safety, and Justice;
JULIA DAYTON-KLEIN, in her
individual capacity;                                          PLAINTIFF’S RESPONSE
GEORGE F. BORER, in his                                      TO DEFENDANTS’ MOTIONS
individual capacity;                                                TO DISMISS
DANIELLE C. MERCURIO, in her
individual capacity;
DR. JILL ROGSTAD, in her official
capacity as Senior Clinical Forensic
Psychologist in the Fourth Judicial District;
DR. ADAM MILZ, in his official capacity
with Hennepin County Mental Health;
JACQUELINE PEREZ, in her
official capacity as Assistant Hennepin
County Attorney;
BRUCE M. RIVERS, in his
individual capacity.
                                      Defendants.


                                        I. INTRODUCTION

     1.        Plaintiff Matthew Guertin, proceeding pro se, respectfully submits this response to the

motions to dismiss filed by all of the Defendants except for Bruce Rivers, who has failed to

respond to Guertin’s complaint.



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       2.      The overwhelming and newly discovered evidence of fraudulent discovery

materials, combined with the clear indications of a civil conspiracy, substantiate Plaintiff’s

claims and directly counter the arguments made by the Defendants in their respective motions.



        II. DISCOVERY FRAUD AND VALIDATION OF INITIAL CLAIMS

       3.      The most crucial point that needs to be addressed is the newly obtained discovery

materials provided to Guertin by Bruce Rivers on July 16, 2024.

       4.      This new discovery, which includes manipulated and missing images, directly

correlates with the initial set of discovery that Plaintiff had already flagged as fraudulent.

       5.      The fraudulent nature of these materials not only serves to validate Plaintiff's

initial claims but also directly ties Bruce Rivers, a defendant in this case, to the conspiracy.

       6.      Notably, Bruce Rivers remains the Plaintiff’s defense counsel, despite multiple

direct requests from Guertin for him to withdraw. This includes a pro se motion for substitute

counsel that Guertin filed with the Hennepin County District Court on June 3, 2024, and the

glaring conflict of interest arising from Rivers also being a Defendant in this very case.

       7.      Rivers' unwavering dedication to Guertin - his refusal to relinquish control and his

determination to steer Guertin’s case - while blatantly ignoring the numerous Minnesota Rules of

Professional Conduct he continues to violate, is nothing short of an impressively absurd feat.

       8.      This, naturally, fits seamlessly into the series of absurdities that have come to

define nearly every aspect of Guertin's ongoing adventure within the Hennepin County Courts.




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A. Direct Correlation Between Initial and New Discovery Materials

       9.     The new discovery set conspicuously lacks the same 28 images initially identified

by Plaintiff as manipulated. The probability of this specific set of images being excluded by

coincidence is astronomically low, thereby reinforcing the claim of intentional tampering.




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       10.    The manipulation involves the generation of fake application windows that are

being used to obscure the true contents of Guertin’s laptop screen in which he had left an image

of his self professed ‘former CIA’ welder displayed on it, with these fraudulent application

windows including pixelation and inconsistencies that directly infer they were produced using an

advanced ai image generation model of some sort.




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        11.     This not only validates Plaintiff’s claims but also implicates the Defendants in an

ongoing conspiracy to obstruct justice.



B. Civil Conspiracy and Involvement of Defendants

        12.     The alignment of fraudulent materials in both sets of discovery implicates both the

prosecution and Bruce Rivers in a coordinated effort to undermine Plaintiff's defense.

        13.     This further substantiates Plaintiff's civil conspiracy claims, which are at the heart

of this case.

        14.     The fraudulent discovery provided by Rivers aligns with the discovery previously

supplied by Michael Biglow, reinforcing the existence of a broader conspiracy.




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C. Validation of Monell Claims

       15.     The irrefutable proof of manipulated and missing images supports Plaintiff's

Monell claims against the municipality of Hennepin County.

       16.     Plaintiff had originally provided this fraudulent discovery to the Hennepin County

Attorney’s Office as well as the Minnesota Attorney Generals Office as part of his Minnesota

Court of Appeals case, A24-0780, service requirements. Their failure to acknowledge or address

these issues serves to validate Plaintiff's claims under Monell.



  III. DISCREDITING THE FOUNDATION OF DEFENDANTS’ ARGUMENTS


A. Undermining the Credibility of the Exam Reports

       17.     The defendants' motions to dismiss are fundamentally flawed as they rely on the

findings of the Rule 20.01 exam reports. However, the August 7 motion provides compelling

evidence that thoroughly discredits the content of these reports, particularly those authored by

Dr. Jill Rogstad and Dr. Adam Milz.

       18.     Dr. Rogstad’s March 2023 report is riddled with inaccuracies, falsehoods, and

omissions that seriously question its credibility.

       19.     The report labels numerous factual claims made by the Plaintiff as delusional,

despite these claims later being proven true.

       20.     For instance, the report dismisses Guertin’s claims about his patent being

‘revolutionary’ to the point that it would attract the attention of a huge corporation like Netflix,

as ‘persecutory delusions’. Yet, subsequent evidence, including a listing of Guertin’s name, and

patent number atop Netflix US Patnet 11,810,254, corroborates Guertin’s assertions, thereby

discrediting the report’s conclusions.


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        21.      Moreover, the report fails to consider critical evidence provided by Guertin, such

as the January 12, 2023, police report where he presented substantial evidence of fraud to Officer

Brandon Harris of the Minnetonka Police Department.

        22.      This omission highlights a serious flaw in the report’s foundation, further

undermining its validity.

        23.      Similarly, Dr. Milz’s January 2024 exam report perpetuates these inaccuracies by

continuing to assert that Guertin suffers from a delusional disorder, despite overwhelming

evidence to the contrary.

        24.      The report also falsely attributes a history of substance abuse and psychosis to

Guertin—claims that are directly contradicted not only by Guertin’s medical records and long-

term doctor’s assessment, which show no such history, but also by his own actions.

        25.      Guertin has consistently demonstrated logical and rational thinking through the

production, analysis, and filing of a substantial number of coherent and well-reasoned pro se

court filings.



B. Constitutional Due Process Violations

        26.      The flawed psychological evaluations used to justify Guertin’s civil commitment

represent a grave violation of his constitutional right to due process. The court has a duty to

ensure that decisions about a person’s mental competence are based on accurate and truthful

information.

        27.      The manipulated and discredited exam reports fail to meet this standard, calling

into question the legitimacy of the entire civil commitment proceeding.




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C. Questioning the Motions' Validity

        28.    The defendants' motions to dismiss rest on the assumption that the psychological

evaluations supporting the civil commitment proceedings are valid. However, given the

substantial evidence discrediting these evaluations, the motions themselves lack a credible

foundation.

        29.    The court should consider the thorough discrediting of these reports and deny the

defendants' motions to dismiss.



D. Violation of Plaintiff's Right to a Fair Trial

        30.    The reliance on these discredited psychological evaluations as a basis for civil

commitment and claims of incompetence has compromised Plaintiff’s right to a fair trial. The use

of flawed and manipulated reports to determine Guertin’s mental state is unjustifiable and further

invalidates the defendants' motions.



E. Civil Conspiracy and Systemic Corruption

        31.    The discrediting of the exam reports also ties directly into the broader civil

conspiracy claim.

        32.    The involvement of the same actors in both the flawed psychological evaluations

and the introduction of fraudulent discovery materials suggests a coordinated effort to undermine

Guertin’s legal standing and supports his claims of systemic corruption. This further necessitates

judicial intervention to correct these injustices.




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      IV. ADDITIONAL POINTS FROM DEFENDANTS’ MEMORANDUMS

        33.     Upon review of Defendants’ memorandums, several additional arguments can be

effectively countered with the evidence presented in Plaintiff's August 7, 2024, motion for

expedited preliminary injunction:



Improper Service Argument:

        34.     The argument regarding improper service is nullified by the fact that Hennepin

County and other Defendants have responded through counsel. Their active participation in the

case demonstrates that they were properly served, regardless of their current claims.



Qualified Immunity:

        35.     Defendants’ assertions of qualified immunity are moot in light of the fraudulent

discovery materials. The evidence shows intentional acts that go beyond mere negligence,

implicating the Defendants in active wrongdoing.



Failure to State a Claim:

        36.     Defendants argue that Plaintiff has failed to state a claim upon which relief can be

granted. However, the new evidence of discovery fraud, directly linked to the Defendants, clearly

substantiates Plaintiff’s claims and underscores the necessity of judicial intervention to protect

the Plaintiff’s constitutional rights.




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                                        V. CONCLUSION

        37.    The newly presented evidence in Plaintiff’s August 7 motion is not only

compelling but irrefutably substantiates all of Plaintiff’s initial claims.

        38.    The Defendants’ motions to dismiss should be denied in their entirety, as the

discovery fraud alone proves the existence of a coordinated conspiracy against Plaintiff. This

conspiracy, which involves both the prosecution and Bruce Rivers, directly undermines the

integrity of the entire judicial process.

        39.    It is also worth noting that while all other defendants have responded to the

complaint, Bruce Rivers has failed to do so, raising concerns about his willingness to engage

with the judicial process. Plaintiff respectfully requests that the Court consider this omission as

further evidence of the seriousness of the allegations and allow this case to proceed to trial so

that all the evidence can be thoroughly examined and justice can be served.




       Dated: August 14, 2024                                  Respectfully submitted,

                                                                /s/ Matthew D. Guertin

                                                               Matthew David Guertin
                                                               Pro Se Plaintiff
                                                               1075 Traditions Ct.
                                                               Chaska, MN 55318
                                                               Telephone: 763-221-4540
                                                               MattGuertin@protonmail.com
                                                               www.MattGuertin.com




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                         VI. CERTIFICATE OF COMPLIANCE


I certify that the foregoing response complies with the word limit set forth in Local Rule 7.1(f) of

the United States District Court for the District of Minnesota, as it contains 1,422 words,

excluding the caption, signature block, and this certificate of compliance.




       Dated: August 14, 2024                               Respectfully submitted,

                                                             /s/ Matthew D. Guertin

                                                            Matthew David Guertin
                                                            Pro Se Plaintiff
                                                            1075 Traditions Ct.
                                                            Chaska, MN 55318
                                                            Telephone: 763-221-4540
                                                            MattGuertin@protonmail.com
                                                            www.MattGuertin.com




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